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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                                                 ENTERED
                                                                                                               04/30/2020
_________________________________________
                                          )
In re:                                    )                            Chapter 11
                                          )
SOUTHERN FOODS GROUPS, LLC, et al.,       )                            Case No. 19-36313 (DRJ)
                                          )
            Debtors.1                     )                            Jointly Administered
                                          )
_________________________________________ )

    ORDER DENYING EMERGENCY MOTION OF FOOD LION LLC AND
      MARYLAND AND VIRGINIA MILK PRODUCERS COOPERATIVE
    ASSOCIATION, INC. FOR RELIEF FROM THE AUTOMATIC STAY TO
          ALLOW COMMENCEMENT OF ANTITRUST ACTION
                          [RELATES TO DKT. NOS. 1693, 1750, 1804, 1807, 1816]

         Upon the motion [D.I. 1693] (the “Motion”)2 of Food Lion LLC (“Food Lion”)

and Maryland and Virginia Milk Producers Cooperative Association, Inc. (“MDVA,”

and, with Food Lion, the “Movants”) for relief from the automatic stay, as more fully

described in the Motion; and upon the objection [D.I. 1804] (the “Objection”) filed by

          1
            The debtors and debtors in possession in these Chapter 11 Cases, along with the last four digits
of their respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364);
Dean Foods Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965);
Cascade Equity Realty, LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings,
LLC (9144); Dairy Information Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II,
LLC (9192); Dean East, LLC (8751); Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin,
LLC (2504); Dean Holding Company (8390); Dean Intellectual Property Services II, Inc. (3512); Dean
International Holding Company (9785); Dean Management, LLC (7782); Dean Puerto Rico Holdings, LLC
(6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West II, LLC (9190); Dean
West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889); DFC
Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc.
(8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008);
Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675);
Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza
Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and
Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North Haskell
Avenue, Suite 3400, Dallas, TX 75204.
         2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them
in the Objection.
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Southern Foods Group, LLC, Dean Foods Company, and their debtor affiliates

(collectively, the “Debtors”) in the above-captioned Chapter 11 Cases (the “Chapter 11

Cases”); and upon the partial joinder and statement [D.I. 1807] of the Dairy Farmers of

America (“DFA”); and the Court having jurisdiction to consider the matters raised

in the Motion pursuant to 28 U.S.C. § 1334 and the Order of Reference to Bankruptcy

Judges, General Order 2012-6 (S.D. Tex. May 24, 2012) (Hinojosa, C.J.); and the Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157; and the Court

having found that it may enter a final order consistent with Article III of the United States

Constitution; and the Court having found that venue of this proceeding and the Motion in

this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due, proper, and

adequate notice of the Motion under Bankruptcy Rule 6004(a) and opportunity for

objection to and a hearing on the Motion having been given to the parties listed therein,

and it appearing that no other or further notice need be provided; and the Court having

reviewed and considered the Motion; and upon all of the proceedings had before the

Court; and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

       1.      For the reasons set forth on the record pursuant to Rule 7052 of the Federal

Rules of Bankruptcy Procedure, the relief requested in the Motion is hereby denied to

the extent the automatic stay is applicable.



      Signed: April 30, 2020.

                                                   ____________________________________
                                                   DAVID R. JONES
                                                   UNITED STATES BANKRUPTCY JUDGE




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